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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                  HARRISON DIVISION

UNITED STATES OF AMERICA
                                                                      PLAINTIFF/RESPONDENT

v.                                 Case No. 3:11-CR-30010-003


IRENEO ARRIZON                                                       DEFENDANT/PETITIONER

                                            ORDER

       The Court has received proposed findings and recommendations (Doc. 72) from Chief

United States Magistrate Judge James R. Marschewski. There have been no objections and the time

period for filing objections has passed.

       After careful review, the Court concludes that the findings and recommendations should be,

and hereby are, approved and adopted as this Court’s findings in all respects in their entirety. IT IS

THEREFORE ORDERED that Petitioner Ireneo Arrizon’s motion (Doc. 67) to vacate is DENIED.

       IT IS SO ORDERED this 5th day of February, 2014.


                                                              /s/P. K. Holmes, III
                                                              P.K. HOLMES, III
                                                              CHIEF U.S. DISTRICT JUDGE
